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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION




  CHRISTIAN AYALA,                                      )
                                                        )
                                       Plaintiff,       )
                                                        )
  vs.                                                   )   No.: 1:16-cv-01266-TWP-DLP
                                                        )
  BUTLER UNIVERSITY, et al.,                            )
                                                        )
                                       Defendants.      )
                                                        )

    ORDER GRANTING UNOPPOSED MOTION FOR ENTRY OF ORDER
      DIRECTING CLERK OF COURT TO REIMBURSE PLAINTIFF’S
   COUNSEL FOR DUPLICATE PAYMENT OF FILING FEE FOR NOTICE
                          OF APPEAL

         THIS MATTER is before the Court on the Unopposed Motion for Entry of Order Directing

  Clerk of Court to Reimburse Plaintiff’s Counsel for Duplicate Payment of Filing Fee for Notice of

  Appeal filed by the Plaintiff, CHRISTIAN AYALA. The Court, having reviewed the motion, and

  noting it is unopposed, and being otherwise fully advised in the premises, hereby ORDERS and

  ADJUDGES as follows:

         1.     That the motion is GRANTED.

         2.     That the Clerk of Court is ordered to issue payment to attorney ANDREW M.

  KASSIER in the amount of FIVE HUNDRED FIVE DOLLARS and NO CENTS ($505.00) TO

  reimburse for a duplicate payment of the filing fee for the Notice of Appeal [Dkt. 163] filed on

  November 19, 2018, said duplicate payment further identified by Receipt No. 0756-5163112.


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         3.     That the reimbursement to Mr. Kassier shall be made payable to his law firm,

  ANDREW M. KASSIER, P.A.

         SO ORDERED.

          Date: 11/27/2018

                                                    ________________________
                                                    Hon. Tanya Walton Pratt, Judge
                                                    United States District Court
                                                    Southern District of Indiana

  Copies to:

  All ECF-registered counsel of record




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